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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

GREEN & HEALTHY HOMES                             *
INITIATIVE, Inc., et al.,                         *
                                                  *
       PLAINTIFFS,                                *
                                                  *
v.                                                *            No. 1:25-cv-01096-ABA
                                                  *
ENVIRONMENTAL PROTECTION,                         *
AGENCY, et al.,                                   *
                                                  *
       DEFENDANTS.                                *

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                      NOTICE OF SUPPLEMENTAL AUTHORITY

       On June 5, 2025, the Fourth Circuit granted the government’s motion to stay the injunctions

granted in Sustainability Institute v. Trump. No. 25-1575 (4th Cir. June 5, 2025) (attached as ECF

___). As this Court recalls, Plaintiffs in the instant case relied heavily on Sustainability Institute in

their motion for summary judgment and at oral argument. In the Fourth Circuit’s order granting a

stay, the court agreed that “the Government is likely to succeed in showing that the district court

lacked subject matter jurisdiction over Plaintiffs’ claims.” Id. at 3 (internal quotations omitted). The

Fourth Circuit determined that the Tucker Act likely deprived the district court of jurisdiction and

distinguished Bowen v. Massachusetts. Id. at 3–4 (citing Bowen v. Massachusetts, 487 U.S. 879

(1988)).




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                                   Respectfully submitted,

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